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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY

 In re:                                                      Chapter 11
 BLOCKFI INC., et al.,
                                                             Case No. 22-19361 (MBK)
                                    Debtors. 1
                                                             (Jointly Administered)


           DEBTORS’ OBJECTION TO MOTION OF THE JOINT LIQUIDATORS
                     OF THREE ARROWS CAPITAL, LTD. FOR
                        COORDINATION AMONG COURTS

 TO:      THE HONORABLE CHIEF JUDGE MICHAEL B. KAPLAN UNITED
          STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEW JERSEY

          BlockFi Inc. and its debtor affiliates (collectively, “BlockFi” or the “Debtors”), as debtors

 and debtors-in-possession in the above-referenced Chapter 11 cases (the “Chapter 11 Cases”),




 1
   The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017); BlockFi Wallet LLC
 (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products LLC (2422);
 BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The location of the Debtors’ service address is 100
 Horizon Center Blvd., 1st and 2nd Floors, Hamilton, NJ 08691.
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 hereby file this Debtors’ Objection (the “Objection”) to Motion of the Joint Liquidators of Three

 Arrows Capital, Ltd. for Coordination Among Courts (the “Consolidation Motion”). In support of

 the Objection, the Debtors respectfully represent as follows:

                                             Preliminary Statement 2

          1.       The JLs title their motion as one that seeks “coordination” when they are, in effect,

 seeking improper consolidation of distinct matters pending in various U.S. Bankruptcy Courts. 3

 The JLs’ Consolidation Motion seeks an extraordinary and unenforceable remedy – an order from

 this Court to compel judges presiding over 3 separate Chapter 11 bankruptcies, 4 the 3AC Chapter

 15, and a foreign court in the British Virgin Islands to determine procedures by which a foreign

 creditor adjudicates its preference claims in an unspecified forum.

          2.       The Debtors have found no case wherein a request like the JLs’ was ever made and

 certainly no case where such a request was ever granted. This is simply because no statutory basis

 exists to support the relief requested by the JLs. Forcing multiple judges in courts both domestic

 and abroad to agree on the common legal and factual issues applicable to preference claims will

 not result in judicial economy or cost savings. The result will be protracted litigation and waste of

 estate resources.




 2
  Capitalized terms used but not otherwise defined in the Preliminary Statement shall have the meaning ascribed to
 such terms elsewhere in the Objection.
 3
  “The 3AC Debtor proposes, upon relief from the automatic stay” that the 3AC Debtors would file claims against the
 Preference Defendants in the BVI Court” or in separate adversaries in the 3AC Chapter 15 Case that “in each case,
 would be consolidated to the extent necessary.” Consolidation Motion ¶ 4.

 4
   While the Proposed Order submitted by the JLs with the Consolidation Motion does not mention the Celsius Court
 as an included party to the relief sought, the first paragraph of the Motion does so, and the JLs include the Celsius
 debtors in their definition of “Debtor Defendants.” Consolidation Motion ¶¶ Intro, 1, 14. However, the JLs indicated
 in their Reply in Support of Lift Stay Motion [Docket No. 1675] filed on October 6, 2023, that “in light of the limited
 relief the 3AC Debtor is seeking in the Celsius cases” they are no longer seeking to bind the Celsius Court in the
 Consolidation Motion. Reply in Support of Lift Stay Motion, ¶ 1, n.3.
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        3.      Any potential hardship on the JLs is of their own making and pales in comparison

 to the hardship and prejudice that the Preference Defendants sought to be pulled into this

 maelstrom would suffer.

        4.      Further, while this Court’s docket is public, there is nothing to indicate that the JLs

 gave notice of this application and hearing to the FTX Debtors or the Genesis Debtors. The

 Consolidation Motion certainly affects their fundamental substantive rights, and they should have

 the opportunity to be heard. The Consolidation Motion should be denied.

                                       General Background

        5.      On November 28, 2022 (the “Petition Date”), each Debtor filed a voluntary petition

 for relief under Chapter 11 of the Bankruptcy Code. A detailed description of the Debtors, their

 businesses, and the facts and circumstances supporting the Debtors’ Chapter 11 Cases are set forth

 in greater detail in the Declaration of Mark Renzi in Support of the Debtors’ Chapter 11 Petitions

 and First Day Motions (the “First Day Declaration”) [Doc. No. 17].

        6.      The Debtors are operating their businesses and managing their property as debtors

 in possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code. On November 29,

 2022, this Court entered an order [Docket No. 42] authorizing the procedural consolidation and

 joint administration of these Chapter 11 Cases pursuant to Bankruptcy Rule 1015(b). These

 Chapter 11 Cases are being jointly administered under lead Case No. 22-19361.

        7.      On December 21, 2022, the United States Trustee for the District of New Jersey

 (the “U.S. Trustee”) appointed an official committee of unsecured creditors pursuant to Section

 1102 of the Bankruptcy Code (the “Committee”) [Docket No. 130].

        8.      On May 12, 2023, BlockFi filed its First Amended Joint Chapter 11 Plan [Docket

 No. 875] (as most recently amended at Docket No. 1609 and as may be further amended from time

 to time, the “Plan”) and the accompanying Disclosure Statement [Docket No. 874] (as most
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 recently amended at Docket No. 1310, the “Disclosure Statement”). On September 26, 2023, the

 Court confirmed the Plan and approved the Disclosure Statement on a final basis [Docket No.

 1660].

                                  Background Specific to this Objection

          9.        By now, this Court (and only this Court) has been briefed on the background

 between BlockFi Lending LLC (“BlockFi Lending”) and Three Arrows Capital, Ltd. (“Three

 Arrows” or “3AC”). 5 On June 27, 2022, 3AC commenced a liquidation proceeding (the “BVI

 Proceeding”) before the British Virgin Islands Court (the “BVI Court”). Russell Crumpler and

 Christopher Farmer were appointed as joint liquidators and foreign representatives of Three

 Arrows (the “JLs”) and obtained recognition of the BVI Proceeding as a foreign main proceeding

 under Chapter 15 of the Bankruptcy Code before the U.S. Bankruptcy Court for the Southern

 District of New York (the “Chapter 15 Court”), Case No. 22-10920 (the “3AC Chapter 15”, and

 together with the BVI Proceeding, the “3AC Proceedings”).

          10.     In these Chapter 11 Cases, the JLs filed nine duplicative Proofs of Claim with

 identical addendums against each of the BlockFi Debtors asserting both “Known Claims” and

 “Unknown Claims” (collectively, the “Initial 3AC Claims”). The JLs then filed nine duplicative

 amended Proofs of Claim against each of the Debtor entities (the “Amended 3AC Claims,” and

 together with the Initial 3AC Claims, the “3AC Claims”), making substantive changes to the Initial

 3AC Claims after the Bar Date without leave of Court.




 5
  Three Arrows held itself out as a business of investments and short-term opportunities incorporated under the laws
 of BVI in May 2012.
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         11.      The Debtors filed an Estimation Motion and Claim Objection seeking estimation

 of the 3AC Claims at $0 and disallowance of the 3AC Claims 6 in their entirety. 7 3AC opposed the

 Estimation Motion and Claim Objection and subsequently filed the Lift Stay Motion seeking to

 prosecute preference actions against BlockFi in the BVI Court of the 3AC Chapter 15 Court. 8

         12.      The JLs have filed similar motions for relief from the automatic stay in Genesis

 Global Holdco, LLC, et al. (“Genesis”) 9 [Doc. No. 678], FTX Trading Ltd., et al. (“FTX”) 10 [Doc.

 No. 2755], and Celsius Network LLC, et al. (“Celsius”) [Doc. No. 3569, amended at Doc. No.

 3642]. They also have filed similar motions seeking consolidation in the 3AC Chapter 15 [Doc.

 No. 116], the FTX Cases [Doc No. 2754], and the Genesis Cases [Doc. No. 754] so that they may

 adjudicate their preference claims against FTX, Genesis, and the Debtors (collectively, the

 “Preference Defendants”) in one forum.

         13.      In response to the Lift Stay Motion filed in these Chapter 11 Cases, the Debtors

 filed an objection (the “Lift Stay Objection”) to the Lift Stay Motion and the Declaration of




 6
  As noted in the Debtors’ Objection to 3AC’s Lift Stay Motion, they will be similarly objecting to the Amended
 3AC Claims.
 7
   On August 11, 2023, the Debtors filed the Motion to Estimate the Amount of the 3AC Claims against the Debtors
 Pursuant to Sections 105(a) and 502(c) of the Bankruptcy Code (the “Estimation Motion”) [Doc. No. 1346] and on
 August 21, 2023, the Debtors filed the Eighth Omnibus Objection to Claims of Three Arrows Capital, Ltd. (the “Claim
 Objection”) [Doc. No. 1375]. On September 13, 2023, the JLs filed their (A) Objection to Debtors’ Motion to Estimate
 the Amount of the 3AC Claims against the Debtors pursuant to Sections 105(a) and 502(c) of the Bankruptcy Code,
 and (B) Opposition to Debtors’ Eighth Omnibus Objection to Claims of Three Arrows Capital, Ltd. [Doc. No. 1484].
 8
  On September 13, 2023, the JLs filed their Motion of the Joint Liquidators of Three Arrows Capital, Ltd. for Entry
 of an Order (I) Modifying the Automatic Stay Pursuant to 11 U.S.C. 362(d)(1) and Bankruptcy Rule 4001 And (II)
 Granting Related Relief (the “Lift Stay Motion”) [Docket No. 1492] and the Declaration of Grant Carroll in support
 of the Lift Stay Motion [Docket No. 1493] (the “Carroll Dec.”)

 9
  In re Genesis Global Holdco, LLC, No. 23-10063 (SHL) (Bankr. S.D.N.Y. filed Jan. 19, 2023) (the “Genesis Cases”
 and the “Genesis Court”).

  In re FTX Trading Ltd., No. 22-11068 (JTD) (Bankr. D. Del. filed Nov. 11, 2022) (the “FTX Cases” and the “FTX
 10

 Court”).
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 Christopher Parker (the “Parker Dec.”) in support of the Lift Stay Objection. [Docket Nos. 1654

 & 1654-1].

        14.    After filing the Lift Stay Motion, the JLs filed the Consolidation Motion, asking

 this Court to order itself, the BVI Court, the Chapter 15 Court, and the courts presiding over

 Genesis and FTX to coordinate to establish procedures to adjudicate common issues of fact and

 law raised by the 3AC Claims in a centralized forum. Moreover, “[t]he 3AC Debtor proposes,

 upon relief from the automatic stay” that the 3AC Debtor would file claims against the Preference

 Defendants in the BVI Court” or in separate adversaries in the 3AC Chapter 15 Case that “in each

 case, would be consolidated to the extent necessary.” Consolidation Motion ¶ 4. The relief

 requested in the Consolidation is unprecedented and improper and should be denied.

        15.    The JLs filed the Reply in Support of the Motion of the Joint Liquidators of Three

 Arrows Capital, Ltd. for Entry of an Order (I) Modifying the Automatic Stay Pursuant To 11 U.S.C.

 § 362(d)(1) and Bankruptcy Rule 4001 and (II) Granting Related Relief (the “Reply in Support of

 Lift Stay Motion”) [Docket No. 1675] and the Objection to The Blockfi Debtors’ Proposed

 Scheduling Order on 3AC Matters and Notice of Alternative Scheduling Order Proposed by the

 Joint Liquidators of Three Arrows Capital, Ltd. (the “3AC Objection to Scheduling Order”)

 [Docket No. 1682].

                                            Objection

 A.     There is No Statutory Basis to Support the Relief Requested

        16.     The JLs do not cite to one case that grants the type and scope of relief sought in

 the Consolidation Motion, and the Debtors have similarly been unable to locate any cases where a

 court did so. Nonetheless, the JLs assert that Section 105(a), Chapter 15 of the Bankruptcy Code,

 and the Federal Rules of Civil Procedure on consolidation all provide authority for this Court to
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 order other courts to coordinate on 3AC’s preference actions against the Preference Defendants.

 Even the most cursory examination of these statutes and rules demonstrates the JLs’ arguments to

 be wholly without merit.

    I.          Section 105(a) Does Not Provide Authority for the Relief Requested

          17.      Section 105(a) does not operate in a vacuum. The statute provides that “[t]he court

 may issue any order, process, or judgment that is necessary or appropriate to carry out the

 provisions of this title.” 11 U.S.C. § 105(a) (emphasis added). “The statutory language thus

 requires that an exercise of Section 105 power be tied to another Bankruptcy Code section and not

 merely           to      a       general        bankruptcy        concept        or       objective.”

 2 Collier on Bankruptcy ¶ 105.01 (16th 2023). See United States v. Sutton, 786 F.2d 1305, 1308

 (5th Cir. 1986) (holding that Section 105(a) “does not authorize the bankruptcy courts to create

 substantive rights that are otherwise unavailable under applicable law, or constitute a roving

 commission to do equity.”); In re Dairy Mart Convenience Stores, Inc., 351 F.3d 86, 92 (2d Cir.

 2003) (stating that Section 105(a) provides courts with the “power to exercise equity in carrying

 out the provisions of the Bankruptcy Code, rather than to further the purposes of the Code

 generally, or otherwise to do the right thing.”).

          18.      The JLs cannot rely on Section 105(a) alone to argue that this Court may grant the

 unprecedented relief they are requesting in the Consolidation Motion. While they refer to the

 provisions of Chapter 15 (discussed further below) as generally advocating for cooperation

 between US and foreign courts, the JLs fail to cite to any provision of the Code that would allow

 this Court to order a foreign court, another US court, or debtors in another bankruptcy case not

 before it to consolidate preference actions against multiple, unrelated debtors.
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          19.      The JLs further emphasize that Section 105(a) allows bankruptcy courts to “control

 [their] own docket[s]” and “maintain control of the courtroom and administration of…cases before

 them.” Consolidation Motion ¶ 22 (emphasis added). The Debtors do not dispute that Section

 105(a) is one of many sources of authority that allows bankruptcy courts to manage the cases and

 litigants that come before it. But the JLs are not asking this Court to manage its docket, or direct

 parties before it to take or refrain from taking some action—they are asking this Court to order

 other bankruptcy courts, the BVI Court, the 3AC Chapter 15 Court, and the debtors in the FTX

 and Genesis Cases to participate in a mass adjudication of 3AC’s preference claims in a forum

 other than the District of New Jersey. That power is simply not within the authority of this Court,

 or of any court that the Debtors are aware of, and the JLs cannot twist the words of Section 105(a)

 to make it so. See In re Jocelyn, 574 B.R. 771, 772 n. 3 (Bankr. M.D. Fla. 2017) (holding that the

 jurisdiction of the bankruptcy court does not include “giving directives to any other courts”).

    II.         Chapter 15 Does Not Provide Authority for the Relief Requested

          20.      Chapter 15 governs the recognition of foreign insolvency proceedings such as those

 in the 3AC BVI Proceeding. The JLs place much emphasis on the concepts of comity and

 cooperation between US courts and foreign courts and representatives, citing to Section 1509(b)(3)

 for the proposition that once a foreign proceeding is recognized under Section 1507 “a court in the

 United States shall grant comity or cooperation to the foreign representative.” Consolidation

 Motion ¶ 24 (citing 11 U.S.C. § 1509(b)(3)). They argue that this gives the “relevant

 courts…statutory authority [to] cooperate with the JLs.” Id. But this grant simply requires that

 courts give “courtesy and respect for the foreign proceeding, it does not mandate relief. The foreign

 representative must still make a case that the relief it seeks is warranted.” 8 Collier on Bankruptcy

 ¶ 1509.02 (16th 2023); see also CT Inv. Mgmt. Co., LLC v. Cozumel Caribe, S.A. de C.V. (In re
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 Cozumel Caribe, S.A., de C.V.), 482 B.R. 96, 109 (Bankr. S.D.N.Y. 2012) (“[O]ther than providing

 access to courts in the United States, Section 1509 is not self-executing. Relief to a foreign

 representative must be based on Sections 1507, 1519, 1520 and 1521, subject to limitations that

 may be imposed under section 1522.”). The JLs do not cite to any of these sections as the basis for

 the relief they seek.

             21.      The JLs cite to two other sections of Chapter 15, Sections 1501 and 1525. Both

 sections simply express the intent of the legislature in drafting the Chapter to “provide effective

 mechanisms for dealing with cross-border insolvency” and promote communication between US

 and foreign courts. See 11 U.S.C. §§ 1501, 1525. Like Section 1509, these sections do not provide

 an independent basis for relief. Additionally, the JLs are not seeking to be heard in or recognized

 by this Court. In fact, the relief sought by the Consolidation Motion would force the Debtors into

 litigation in a venue foreign to them, either in the 3AC Chapter 15 Court or the BVI Court. Such

 a result is surely not the type of outcome the drafters of Chapter 15 were hoping to promote when

 they emphasized the goals of cooperation and comity between US and foreign courts.

      III.         The Bankruptcy Court’s Power to Consolidate Does Not Extend to Litigation in
                   Other Courts

             22.      The JLs invoke Rule 42 of the Federal Rules of Civil Procedure 11 to argue that

 “cross-court coordination with respect to the 3AC Claims would be consistent with federal policy.”

 Consolidation Motion ¶ 27. Rule 42 states, inter alia, that “[i]f actions before the court involve a

 common question of law or fact, the court may…consolidate the actions.” FED. R. CIV. P. 42

 (emphasis added). What the JLs fail to mention, however, is that Rule 42 can only be utilized to

 consolidate cases before it and over which the court has jurisdiction. “[F]ederal courts have no


 11
   Rule 42 is made applicable to adversary proceedings and contested matters by Federal Rules of Bankruptcy
 Procedure 7042 and 9014(c).
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 authority to consolidate an action of which it has jurisdiction with one it does not.” Mins. Dev. &

 Supply Co. v. Hunton & Williams, LLP, No. 10-CV-00488-WMC, 2011 WL 4585321, at *5 (W.D.

 Wis. Sept. 30, 2011), aff'd, 488 F. App'x 153 (7th Cir. 2012) (internal citations omitted); see also

 New York v. U.S. Army Corps of Engineers, 896 F. Supp. 2d 180, 188 (E.D.N.Y. 2012) (holding

 that consolidation is a procedural device and courts must consider the jurisdictional basis of each

 case); Washington v. Burley, No. CIV.A. 3-12-154, 2012 WL 5289682, at *2 (S.D. Tex. Oct. 23,

 2012) (“[A] court must have jurisdiction over a case before it can start applying procedural

 mechanisms like consolidation.”).

            23.       While this Court certainly has jurisdiction over the BlockFi Debtors, 3AC, and the

 3AC Claims, 12 this Court does not have jurisdiction over the other Preference Defendants and the

 pending contested matters that the JLs seek to pull into the 3AC Chapter 15 Court or the BVI

 Court. 13 The JLs seek to persuade this Court to order other courts and parties to litigate a preference

 action in one proceeding en masse, only to then remove such action and the BlockFi Debtors to a

 different court entirely. The allowance and disallowance of claims is a core proceeding under 28

 U.S.C. § 157(b)(2)(B), and this Court should not be stripped of its fundamental right “to adjudicate

 and conciliate all competing claims to a debtor's property in one forum.” In re Tarragon Corp.,

 No. 09-10555 (DHS), 2009 WL 2244598, at *7 (Bankr. D.N.J. July 27, 2009).


 12
    As the Supreme Court has noted, “[h]e who invokes the aid of the bankruptcy court by offering a proof of claim
 and demanding its allowance must abide by the consequences of that procedure.” Gardner v. New Jersey, 329 U.S.
 565, 573 (1947). “The whole process of proof, allowance, and distribution is, shortly speaking, an adjudication of
 interests claimed in a res.” Id. at 574.

 Bankruptcy courts have exclusive jurisdiction over a debtor’s property, wherever located, and over the estate. See 28
 U.S.C. § 1334(e).

 A bankruptcy courts in rem jurisdiction permits it to determin[e] all claims that anyone, whether named in the action
 or not, has to the property or thing in question. The proceeding is one against the world.
 16 Moore's Federal Practice - Civil § 108.70 (2023)
 13
      Aside from FTX but solely with respect to the matters reserved for this Court in the stipulation.
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        24.     The JLs cite to several bankruptcy cases for the proposition that separate avoidance

 actions are frequently consolidated for the purposes of litigating insolvency issues. Consolidation

 Motion ¶ 28. See In re Enron Corp., 351 B.R. 305, 307 (Bankr. S.D.N.Y. 2006); In re Am. Classic

 Voyages Co., 367 B.R. 500, 502 (Bankr. D. Del. 2007), aff’d sub nom. In re Am. Classic Voyages,

 Co., 384 B.R. 62 (D. Del. 2008); In re S. Indus. Banking Corp., 189 B.R. 697, 702 (E.D. Tenn.

 1992). Both Enron and Classic Voyages concerned the consolidation of multiple adversary

 proceedings filed in the same bankruptcy case, and In re S. Indus. Banking states, in dicta, that

 bankruptcy courts may consolidate adversary proceedings.

        25.     The “consolidation” sought by the JLs is not authorized under Bankruptcy Rule

 7042 or 9014. Consolidation seeks to promote judicial economy by aggregating common issues of

 fact and law in cases before the court in which they are pending. The JLs are not asking this Court

 to consolidate multiple adversary proceedings or contested matters already before it. With respect

 to the cases mentioned in the Consolidation Motion, this Court presides over the BlockFi Chapter

 11 Cases only, and the specter of multiple common issues of law and fact that the JLs have

 repeatedly evoked have yet to materialize.

        26.     Further, this Court does not have the authority to order what 3AC seeks.

 Specifically, 3AC’s proposed order states: “this Court, the BVI Court, the Genesis Court, the FTX

 Court, and the Chapter 15 Court shall coordinate…” This Court does not have the authority to

 order the Southern District of New York or District of Delaware Bankruptcy Courts to do anything,

 and it goes without saying that this Court also cannot order a sovereign foreign court in the British

 Virgin Islands to do anything either. And even if this Court did somehow have that power, it is
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 entirely unclear what the JLs even mean when they say the courts “shall coordinate.” 14 The

 Consolidation Motion and proposed order are extremely vague on the details of this purported

 coordination effort.

 B.         Judicial Efficiency Will Not Be Promoted by Consolidating 3AC’s Preference Actions

            27.     The JLs assert that consolidation will allow for the efficient adjudication of

 analogous claims against the Preference Defendants. Consolidation Motion ¶¶ 11–20. Despite

 repeated assertions in the Lift Stay and Consolidation Motions of a plethora of common issues that

 are supposedly present in the JLs’ preference claims against the Preference Defendants, the

 Debtors have thus far been able to identify only two commonalities that arise: the claims asserted

 by the JLs are (mostly) preference claims, and 3AC’s insolvency is an element the JLs must

 establish to recover an unfair preference under BVI law in order to make the challenged transfer

 an “insolvency transaction.” 15

            28.     Despite the JLs’ hyper-focus on the insolvency date issue, it is conceivable that the

 adjudication of certain defenses that the Debtors will assert against the 3AC Claims could entirely

 moot the issue of whether an insolvency date needs to be established at all. But the Debtors will

 not have any opportunity to assert those defenses and avoid litigation over the insolvency date

 should they be forced into a proceeding in which only BVI preference defenses are available to

 them.

            29.     To be clear, there is not actually a commonality of claims no matter how many

 times the JLs assert it. The claims against Debtors include only preference claims on loan



 14
    This is especially true in light of the JLs request that this Court enter a scheduling order after consolidation in
 another court. See 3AC Objection to Scheduling Order ¶ 3 (“the JLs request that “this Court enter an order establishing
 a discovery schedule now in the form attached as Exhibit A.”)

 15
      Parker Dec. ¶¶ 4–5 [Docket No. 1654-1].
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 payments, a payment of interest, and transfers of collateral. The challenged transactions related to

 the Genesis debtors include: turnover claims under US and BVI law, conversion claims under NY

 law, preference claims related to interest, loan repayment, and substitution of collateral, and other

 “potential” claims under US bankruptcy law. [Genesis Cases, Doc. No. 658]. The Debtors are

 currently unaware what claims the JLs assert against FTX.

            30.      Even if there were a commonality of claims asserted by the JLs against the

 Preference Defendants, it does not necessitate pulling 3 separate debtors from various bankruptcy

 cases pending in the U.S. into a foreign court or a court overseeing the 3AC Chapter 15 Case. The

 application of the laws governing preferences to the facts will be done on a debtor-by-debtor and

 transaction-by-transaction basis, including an analysis of whether 3AC was insolvent at the time

 of each of those transactions. 16

            31.      Despite repeatedly asserting in the Lift Stay Motion that the BVI (or 3AC Chapter

 15) Court can provide a full adjudication of the 3AC Claims, the JLs fully contradict themselves

 in the Consolidation Motion by stating that the “decisions with respect to common issues can be

 taken back to the [Preference] Defendants’ chapter 11 courts for the resolution of their respective

 claims.” Consolidation Motion ¶ 33. This tacit acknowledgement that every one of the Preference

 Defendants will be forced to adjudicate 3AC’s claims against them twice, particularly since BVI

 law does not allow certain defenses and does not provide the same robust discovery process,

 discredits the JLs’ argument that there is any judicial efficiency to be gained by granting the

 Consolidation Motion. See Carroll Dec. ¶ 25 (stating that the JLs’ US attorneys have advised him

 that “following entry of a judgment by the BVI Court on the 3AC Claims” this Court will

 determine whether the “judgment may serve as the basis of an allowed claim.”).



 16
      Parker Dec. ¶¶ 4–5, 14. [Docket No. 1654-1].
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        32.     The scheduling proposals in the 3AC Objection to Scheduling Order seek to resolve

 all the claims involving the Preference Defendants, not just allegedly common issues. 3AC

 Objection to Scheduling Order, Ex. A, p. 4 (“Hearing on Debtors’ Objection to 3AC’s proofs of

 claim subject to BVI Court’s or the Chapter 15 Court’s availability, as applicable”). The

 Consolidation Motion forces each of the Preference Defendants to be inactive participants in the

 fact-specific proceedings of the other two, in which each party would presumably present their

 own experts, witnesses, and arguments. There is nothing streamlined or efficient about the process

 envisioned by the JLs in the Consolidation Motion, and the costs to BlockFi and the other

 individual bankruptcy estates of the Preference Defendants would be staggering.

 C.     The Prejudice to BlockFi and the Other Preference Defendants Far Outweighs Any
        Prejudice to 3AC.

        33.     As stated more fully in the Debtors’ Lift Stay Objection, the burden, expense, and

 hardship of litigating the 3AC Claims against the BlockFi estate in either the BVI Court or 3AC

 Chapter 15 Court substantially outweigh the JLs’ desire to avoid hypothetical issue preclusion and

 the costs of litigating claims against parties in courts in which the JLs actively asserted claims.

 The JLs have already spent significant amounts of time (and presumably estate funds) filing

 claims, amended claims, requests for production of documents, motions to lift stay, and

 consolidation motions in each of the Preference Defendants’ cases—all in the name of pulling the

 various parties into courts which have no jurisdiction over them to decide the exact date upon

 which 3AC became insolvent.

        34.     Further, the JLs’ plan is laid bare in the 3AC Objection to Scheduling Order. The

 JLs now seek, not consolidation of common issues of fact or law, but rather the entirety of the

 BlockFi Debtors, FTX Debtors, Genesis Debtors, and Celsius Debtors’ claims be tried to

 completion in BVI or the Chapter 15 Court the week of December 18, 2023. 3AC Objection to
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 Scheduling Order ¶ 3. The JLs seek an order from this Court requiring that to happen: “The 3AC

 Debtor requests that this Court enter an order establishing a discovery schedule now in the form

 attached hereto as Exhibit A.” Id. at ¶ 3. The breadth of the JLs’ request is unprecedented and

 staggering—they request that this Court wrestle jurisdiction from the Genesis Court, FTX Court,

 Chapter 15 Court, and the BVI Court and enter a scheduling order binding those courts and all of

 those parties.

                                            Conclusion

        35.       The relief sought by the JLs through the Consolidation Motion is unprecedented,

 unsupported by statute or case law, and wholly self-serving at the expense of the Preference

 Defendants and their individual creditor bodies.

        WHEREFORE, the Debtors respectfully request entry of an order denying the

 Consolidation Motion and granting the Debtors such other and further relief as the Court may

 deem just and proper.
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                                                 Respectfully Submitted,

  Dated: October 9, 2023                         /s/ Michael D. Sirota

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